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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 United States of America,

                        v.
                                                           Case No. 21-cr-028-3 (APM)
 Jessica Watkins,

                Defendant.


UNOPPOSED MOTION TO JOIN DEFENDANT CALDWELL’S MOTION TO DISMISS

       Jessica Watkins, through counsel, respectfully requests that the Court allow her to join

Defendant Thomas Caldwell’s motion to dismiss. The motion is not fact-specific to one

defendant and would appear to apply equally to all defendants if granted. Further, it is in the

interest of judicial economy to allow this motion, and government counsel has indicated no

objection to the motion to join.




                                                     Respectfully submitted,

                                                     A.J. KRAMER
                                                     Federal Public Defender

                                                     _________/s/_________________
                                                     Michelle Peterson
                                                     Chief Assistant Federal Public Defender
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